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UNITED STATES DISTRICT COURT                                                                     11/15/2021
SOUTHERN DISTRICT OF NEW YORK
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ALTAUNE BROWN,

                                                Plaintiff,                        21-CV-5661 (PAE) (KHP)

                             -against-                                          ORDER ADJOURNING INITIAL
                                                                                   CASE MANAGEMENT
MOHAMED M ALOUBAHI d/b/a                                                              CONFERENCE
STOP 1 LEXINGTON DELI AND
1801 LEXINGTON REALTY CORP.,

                                                Defendants.

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KATHARINE H. PARKER, United States Magistrate Judge:

         In light of the Notice of Settlement filed on November 15, 2021 (doc. no 17) the Initial

Case Management Conference currently scheduled for November 18, 2021 is hereby adjourned

sine die.



                   SO ORDERED.

DATED:             New York, New York
                   November 15, 2021

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
